          Case 1:20-cv-01449-SDG Document 4-1 Filed 04/03/20 Page 1 of 4



                    DECLARATION OF HILLARY LI, ESQ.

I, Hillary Li, hereby declare under the penalty of perjury pursuant to 28 U.S.C.

§ 1746:

   1. I am a Staff Attorney at Asian Americans Advancing Justice-Atlanta and

counsel of record in this case.

   2. On April 3, 2020, Counsel for Petitioners called the U.S. Attorney’s Office

for the Northern District of Georgia to notify them of this litigation, advise them of

the emergency reasons requiring a temporary restraining order, notify them of the

accompanying motion for leave to proceed under pseudonyms, and notify them of

the desire to confer with the Court on April 3, 2020 at 4:30PM, as required by Local

Rule 7.5. In addition, Petitioners’ Counsel emailed a copy of the Petition for a Writ

of Habeas Corpus and Complaint, Motion for Temporary Restraining Order, and

Motion For Leave to Proceed under Pseudonyms to Assistant U.S. Attorney Lori

Beranek at lori.beranek@usdoj.gov.

   3. Attached hereto as Exhibit 1 are a true and accurate copy of the expert

declaration and curriculum vitae of Doctor Robert B. Greifinger, M.D.

   4. Attached hereto as Exhibit 2 are a true and accurate copy of the expert

declaration and curriculum vitae of Professor Derek A.T. Cummings, PhD., M.H.S.,

M.S., Department of Biology, University of Florida.

   5. Attached hereto as Exhibit 3 are a true and accurate copy of the expert


                                          1
       Case 1:20-cv-01449-SDG Document 4-1 Filed 04/03/20 Page 2 of 4



declaration and curriculum vitae of Doctor Amy J. Zeidan, M.D., Assistant

Professor, Department of Emergency Medicine at Emory University School of

Medicine and Attending Physician, Grady Memorial Hospital, Atlanta, Georgia.

   6. Attached hereto as Exhibit 4 is a true and accurate copy of the declaration of

Jacquelinne Murillo Figueroa, Esq.

   7. Attached hereto as Exhibit 5 is a true and accurate copy of the declaration of

Alexis Ruiz, Esq.

   8. Attached hereto as Exhibit 6 is a true and accurate copy of the declaration of

Laura G. Rivera, Esq.

   9. Attached hereto as Exhibit 7 is a true and accurate copy of the declaration of

Meredyth Yoon, Esq.

   10.Attached hereto as Exhibit 8 is a true and accurate copy of the declaration of

Petitioner Joseph Lloyd Thompson.

   11.Attached hereto as Exhibit 9 is a true and accurate copy of the declaration of

Petitioner Ansumana Jammeh.

   12.Attached hereto as Exhibit 10 is a true and accurate copy of the declaration of

Petitioner Karen Lopez. Ms. Lopez submits this declaration using a pseudonym; a

Motion for Leave to Proceed Under Pseudonyms is being filed contemporaneously

herewith.

   13.Attached hereto as Exhibit 11 is a true and accurate copy of the declaration of


                                         2
       Case 1:20-cv-01449-SDG Document 4-1 Filed 04/03/20 Page 3 of 4



Petitioner Sarai Hernandez. Ms. Hernandez submits this declaration using a

pseudonym; a Motion for Leave to Proceed Under Pseudonyms is being filed

contemporaneously herewith.

   14.Attached hereto as Exhibit 12 is a true and accurate copy of the declaration of

Petitioner Nilson Barahona Marriaga.

   15.Attached hereto as Exhibit 13 is a true and accurate copy of the declaration of

Petitioner Shelley Dingus.

   16.Attached hereto as Exhibit 14 is a true and accurate copy of the declaration of

Petitioner Maria Benavides. Ms. Benavides submits this declaration using a

pseudonym; a Motion for Leave to Proceed Under Pseudonyms is being filed

contemporaneously herewith.

   17.Attached hereto as Exhibit 15 is a true and accurate copy of the declaration of

Petitioner David Fernandez. Mr. Fernandez submits this declaration using a

pseudonym; a Motion for Leave to Proceed Under Pseudonyms is being filed

contemporaneously herewith.

   18.Attached hereto as Exhibit 16 is a true and accurate copy of the declaration of

Petitioner Gerardo Arriaga. Mr. Arriaga submits this declaration using a pseudonym;

a Motion for Leave to Proceed Under Pseudonyms is being filed contemporaneously

herewith.

   19.Attached hereto as Exhibit 17 is a true and accurate copy of the declaration of


                                         3
        Case 1:20-cv-01449-SDG Document 4-1 Filed 04/03/20 Page 4 of 4



Petitioner Aristoteles Sanchez Martinez.

   20.Attached hereto as Exhibit 18 is a true and accurate copy of the declaration of

Petitioner Michael Robinson. Mr. Robinson submits this declaration using a

pseudonym; a Motion for Leave to Proceed Under Pseudonyms is being filed

contemporaneously herewith.

   21.Attached hereto as Exhibit 19 is a true and accurate copy of the declaration of

John Sandweg.

   22.Attached hereto as Exhibit 20 is a true and accurate copy of the declaration of

Petitioner Peter Owusu. Mr. Owusu submits this declaration using a pseudonym; a

Motion for Leave to Proceed Under Pseudonyms is being filed contemporaneously

herewith.



Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury that the foregoing is

true and correct.


Executed this 3rd day in April, 2020 in Decatur, Georgia.




Hillary Li, Esq.



                                           4
